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12 Counsel to Joint Official Liquidators of White Oak Strategic Master Fund, L.P.
     and White Oak Strategic Fund, Ltd
13
                                  UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15
       In re:                                         Chapter 15
16
       WHITE OAK STRATEGIC MASTER FUND, Case No. 19-30635
17     L.P.,

18              Debtor in a Foreign Proceeding.

19
       In re:                                         Chapter 15
20
       WHITE OAK STRATEGIC FUND, LTD.,                Case No. 19-30639
21
                Debtor in a Foreign Proceeding.       NOTICE OF RELATED CASES
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     ___________________________________________________________________
Case:NOTICE
      19-30635  Doc# 6 CASES
                       Filed: 06/12/19
                                    Entered: 06/12/19 16:06:03 Page 1 of 3
            OF RELATED                                                              Page 1
 1
            On June 12, 2019, Luke Oliver Almond of Borrelli Walsh (Cayman) Limited and Cosimo
 2
     Borrelli of Borrelli Walsh Limited, as the foreign representatives1 of White Oak Strategic Master
 3
     Fund, L.P. (“Master Fund”) and White Oak Strategic Fund, Ltd. (“Offshore Feeder Fund,” and
 4
     collectively with Master Fund, the “Offshore Funds”), filed with the Court (a) the Official Form
 5
     401 filed under Chapter 15 of the Bankruptcy Code, and (b) the accompanying Verified Petition in
 6
     Support of Applications for Recognition of Foreign Main Proceedings Pursuant to 11 U.S.C. § 1517
 7
     and Additional Relief (the “Verified Petition”) seeking recognition of foreign main proceedings
 8
     and additional relief for each of the Offshore Funds (the “Chapter 15 Cases”).
 9
            The Petitioners believe that the Chapter 15 Cases should be jointly administered, pursuant
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     to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure. The Petitioners submit that the
11
     Chapter 15 Cases are related cases, as defined by Rule 1015-1 Of the Bankruptcy Local Rules for
12
     the United States District Court for the Northern District of California, and assignment to a single
13
     judge would promote efficient administration and avoid conflicting and inconsistent rulings.
14
            The Petitioners, by their United States counsel, hereby give notice pursuant to Local Rule
15
     1015-1 that the following cases are related cases:
16
      Debtor                     Case Number                             Date of Filing
17    White Oak Strategic Master 19-30635                                June 12, 2019
      Fund, L.P.
18
      White Oak Strategic Fund, 19-30639                                 June 12, 2019
19    LTD.
20
21                                                                /s/ Lisa S. Tsai
                                                                  Lisa S. Tsai
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            1
28              As that term is defined in 11 U.S.C. § 101(24).

     ___________________________________________________________________
Case:NOTICE
      19-30635  Doc# 6 CASES
                       Filed: 06/12/19
                                    Entered: 06/12/19 16:06:03 Page 2 of 3
            OF RELATED                                                                            Page 2
 1                                             REID COLLINS & TSAI LLP

 2
                                               Lisa S. Tsai
 3                                             Marc Dworsky
                                               R. Adam Swick
 4                                             Craig A. Boneau
                                               Leo Oppenheimer
 5
                                               Attorneys for Joint Official Liquidators
 6                                             of White Oak Strategic Master Fund,
                                               L.P., and White Oak Strategic Fund,
 7                                             Ltd.

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Case:NOTICE
      19-30635  Doc# 6 CASES
                       Filed: 06/12/19
                                    Entered: 06/12/19 16:06:03 Page 3 of 3
            OF RELATED                                                         Page 3
